                        Case 1:20-cr-00018-RMB Document 15 Filed 09/01/20 Page 1 of 1
           S2: 20 CR 18 (RMB)
DOCKET No. _____________________________                                       Jonatan Correa
                                                                     DEFENDANT _______________________________________


      Andrew Chan
AUSA ___________________________________                                            David Wikstrom
                                                                     DEF.’S COUNSEL ___________________________________
                                                                      RETAINED      FEDERAL DEFENDERS   ✔ CJA   PRESENTMENT ONLY
    _____________________ INTERPRETER NEEDED
                                                                                  DEFENDANT WAIVES PRETRIAL REPORT

    Rule 5 ✔ Rule 9             Rule 5(c)(3)      Detention Hrg.                       8/25/2020
                                                                        DATE OF ARREST ________________            VOL. SURR.
                                                                                       7:00 AM
                                                                        TIME OF ARREST ________________            ON WRIT
    Other: ________________________________________                                           2:20 PM
                                                                        TIME OF PRESENTMENT __________


                                                             BAIL DISPOSITION
                                                                                                                   SEE SEP. ORDER
    DETENTION ON CONSENT W/O PREJUDICE             DETENTION: RISK OF FLIGHT/DANGER        SEE TRANSCRIPT
    DETENTION HEARING SCHEDULED FOR: ________________________
✔   AGREED CONDITIONS OF RELEASE
    DEF. RELEASED ON OWN RECOGNIZANCE
✔    75,000
    $_______________       1
                     PRB ✔ ________FRP
✔                 75,000
    SECURED BY $_______________                  Bond co-signed by Jacinda Kahle
                                CASH/PROPERTY: __________________________________________________________
                                      D. Kan./W.D. Mo. and travel points in between
    TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
    TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
✔   SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)
✔ PRETRIAL SUPERVISION:    REGULAR         STRICT ✔ AS DIRECTED BY PRETRIAL SERVICES
✔ DRUG TESTING/TREATMT AS DIRECTED BY PTS        MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
  DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

    HOME INCARCERATION        HOME DETENTION      CURFEW       ELECTRONIC MONITORING     GPS
    DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

  DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]     DEF. TO CONTINUE OR START EDUCATION PROGRAM
✔ DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
✔ DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
                                                                                           9/4, 5pm EDT
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Defendant shall have no contact with any co-defendant, witnesses known to Defendant, or any other members of the
Sparks Group without the presence of counsel.
Refrain from conduct alleged in the charging document.




✔ DEF. ARRAIGNED; PLEADS NOT GUILTY                                                    10/26 10:30 AM
                                                           ✔ CONFERENCE BEFORE D.J. ON _______________
  DEF. WAIVES INDICTMENT
                                                                10/26/2020
✔ SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________

For Rule 5(c)(3) Cases:
    IDENTITY HEARING WAIVED                                          DEFENDANT TO BE REMOVED
    PRELIMINARY HEARING IN SDNY WAIVED                               CONTROL DATE FOR REMOVAL: _______________


PRELIMINARY HEARING DATE: ________________                           ON DEFENDANT’S CONSENT


      9/1/2020
DATE: ______________________                                                __________________________________________________
                                                                            UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
WHITE (original) – COURT FILE        PINK – U.S. ATTORNEY’S OFFICE       YELLOW – U.S. MARSHAL    GREEN – PRETRIAL SERVICES AGENCY
Rev’d 2016
